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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA

    LASHAWN JONES, ET AL.                                 CIVIL ACTION NO. 12-859

    VERSUS                                                SECTION I, DIVISION 5

    MARLIN GUSMAN, ET AL.                                 JUDGE LANCE M. AFRICK
                                                          MAGISTRATE JUDGE NORTH


                      CITY OF NEW ORLEANS’ ADDITIONAL EXHIBIT LIST

           NOW INTO COURT, through undersigned counsel, comes the City of New Orleans (the

“City”) and pursuant to the Court’s August 20, 2020 Minute Entry1 respectfully submits the

following exhibit list for the hearing on the City’s Motion for Relief at Rec. Doc. 1281:

                                            EXHIBIT LIST

      1. The Court’s Minute Entry stated that, “the Court considers all exhibits and documents in

           the record of the case to be admissible for purposes of this motion.”2 Accordingly, the City

           will reference relevant record documents, including, but not limited to, all documents filed

           into the record as part of the City’s Motion for Relief (Rec. Doc. 1281), its Reply

           Memorandum in Support of the Motion for Relief (Rec. Doc. 1312), and its Response (Rec.

           Doc. 1315) to the Court’s Order of August 13, 2020. The City will also reference the

           Court’s Order and Reasons (Rec. Doc. 565).

      2. All expert disclosures provided for, the curricula vitae and résumés of, the declarations

           of, and the reports relied upon by the witnesses to be called by the City at this evidentiary

           hearing:




1
    Rec. Doc. 1320.
2
    Id. at 3.


                                                     1
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             a. Alternatives to the Phase 3 Facility Program report (August 14, 2020)3

             b. CVs and/or résumés of expert witnesses:

                       i. Dr. Carin Kottraba

                      ii. Dr. Ronald Shansky

                     iii. Allen Patrick

                      iv. James Austin

             c. OPSO 2020 Proposed Budget Template

             d. OPSO Active Management System Inmate Count report (September 1, 2020)

             e. Correspondence from National Commission on Healthcare Accreditation to

                  OPSO (March 13, 2020)

             f. Assessment of Quality of Medical Care in Correctional Facilities (Audit Toolkit)

             g. City Financial Outlook presentation documents (September 9, 2020)

             h. Summary of Phase III v. OJC Renovation report4

             i. Photographs of TDC Renovation

             j. Jail Release Navigator Business Case for the Orleans Parish Sheriff’s Office

                  report5

             k. Correct Care Solutions Event Detail Report 1/1/19 to 1/31/19 (Hospital Recap)

    3. New Orleans City Council Resolution R-20-308 (adopted September 17, 2020)6


3
  Independent Jail Compliance Director, Darnley R. Hodge, Sr. (the “Compliance Director”), and Sheriff Marlin
Gusman (the “Sheriff”) have objected to the admissibility of this exhibit on the grounds of hearsay and lack of
foundation.
4
  The Compliance Director and the Sheriff have objected to the admissibility of this exhibit on the grounds of lack of
foundation.
5
  The Compliance Director and the Sheriff have objected to the admissibility of this exhibit on the grounds of
hearsay and lack of foundation.
6
  The Plaintiff Class and the United States Department of Justice object to the City’s proposed addition of any
exhibit which is not already on record in this case or disclosed to the parties by the September 9 deadline that the
Court set in its order at Rec. Doc. 1320. This objection applies to the New Orleans City Council Resolution, as well
as the requests for judicial notice of the September 10 and September 17 council meetings. In response, the City


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    4. The City respectfully requests that the Court take judicial notice of the New Orleans City

        Council Meetings of September 10, 2020 and September 17, 2020, discussing Phase III

        alternatives,7 available at:

             a. September 10, 2020, 3:35:18 – 5:44:02 [h:mm:ss]
                http://cityofno.granicus.com/MediaPlayer.php?view_id=7&clip_id=3684

             b. September 17, 2020, 3:39:02 – 3:56:16 [h:mm:ss]
                http://cityofno.granicus.com/MediaPlayer.php?view_id=7&clip_id=3686

    5. Any other document listed by any other party.

    6. Any other document identified in pleadings and/or exhibits filed into the record by the

        parties, which the City is still reviewing.

    7. Any other document needed for rebuttal of testimony introduced by another party.

    8. Any other document needed for impeachment.

                                                    Respectfully submitted,


                                                    __/s/ Sunni J. LeBeouf________________
                                                    SUNNI J. LEBEOUF (LSBA #28633)
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                                                     - and -
                                                    __/s/ Harry Rosenberg__________________

asserts that the Mayor and New Orleans City Council are duly elected by the residents of Orleans Parish, and any
statements made or actions taken by the current New Orleans City Council on September 10, 2020 and/or September
17, 2020 regarding the Phase III jail building and/or as to land use matters regarding the Phase III jail building
should be recognized accordingly.
7
  See n.6, supra.


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                                            Counsel for the City of New Orleans



                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on September 18, 2020, a copy of the foregoing was served,

contemporaneously or prior, upon all parties to this proceeding via the court’s CM/ECF system.

                                                          /s/ Sunni J. LeBeouf
                                                          SUNNI J. LEBEOUF




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